                           UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF NORTH CAROLINA


 MATTHEW BRADLEY,

                                Plaintiff,                    Docket No. 5:19-cv-00249

        - against -                                           JURY TRIAL DEMANDED

 ANALYTICAL GRAMMAR, INC.

                                Defendant.


                                          COMPLAINT

       Plaintiff Matthew Bradley (“Bradley” or “Plaintiff”) by and through his undersigned

counsel, as and for his Complaint against Defendant Analytical Grammar, Inc., (“Analytical” or

“Defendant”) hereby alleges as follows:

                                   NATURE OF THE ACTION

       1.      This is an action for copyright infringement under Section 501 of the Copyright

Act and for the removal and/or alteration of copyright management information under Section

1202(b) of the Digital Millennium Copyright Act. This action arises out of Defendant’s

unauthorized reproduction and public display of wrong tapped, owned and registered by Bradley.

Accordingly, Bradley seeks monetary relief under the Copyright Act of the United States, as

amended, 17 U.S.C. § 101 et seq.

                                JURISDICTION AND VENUE

       2.      This claim arises under the Copyright Act, 17 U.S.C. § 101 et seq., and this Court

has subject matter jurisdiction over this action pursuant to 28 U.S.C. §§ 1331 and 1338(a).

       3.      This Court has personal jurisdiction over Defendant because Defendant resides in

and/or transacts business in North Carolina.




            Case 5:19-cv-00249-FL Document 1 Filed 06/18/19 Page 1 of 6
         4.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b).

                                             PARTIES

         5.      Bradley has a usual place of business at 10008 Elsbree Lane, Windsor, California

95492.

         6.      Upon information and belief, Analytical is a domestic business corporation duly

organized and existing under the laws of the State of North Carolina, with a place of business at

7615 Vista Del Rey Lane, Raleigh, North Carolina 27613. Upon information and belief

Analytical is registered with the North Department of State Division of Corporations to do

business in the State of North Carolina. At all times material, hereto, Analytical has operated a

website at the URL: www.Facebook.com/analysticalgrammer (the “Website”).

                                    STATEMENT OF FACTS

         A.      Background and Plaintiff’s Ownership of the Photograph

         7.      Bradley photographed a wrong tapped (the “Photograph”). A true and correct

copy of the Photograph is attached hereto as Exhibit A.

         8.      Bradley is the author of the Photograph and has at all times been the sole owner of

all right, title and interest in and to the Photograph, including the copyright thereto.

         9.      The Photograph was registered with the United States Copyright Office and was

given registration number VA 2-133-725.

         B.      Defendant’s Infringing Activities

         10.     Analytical ran the Photograph on the Website. See URL:

https://www.facebook.com/analyticalgrammar/posts/this-is-wrong-on-so-many-

levels/10154982827941891/. A screenshot of the Photograph on the Website is attached hereto

as Exhibit B.




               Case 5:19-cv-00249-FL Document 1 Filed 06/18/19 Page 2 of 6
          11.     Analytical did not license the Photograph from Plaintiff for its Website, nor did

Analytical have Plaintiff’s permission or consent to publish the Photograph on its Website.

                              FIRST CLAIM FOR RELIEF
                      (COPYRIGHT INFRINGEMENT AGAINST DEFENDANT)
                                 (17 U.S.C. §§ 106, 501)

          12.     Plaintiff incorporates by reference each and every allegation contained in

Paragraphs 1-11 above.

          13.     Analytical infringed Plaintiff’s copyright in the Photograph by reproducing and

publicly displaying the Photograph on the Website. Analytical is not, and has never been,

licensed or otherwise authorized to reproduce, publically display, distribute and/or use the

Photograph.

          14.     The acts of Defendant complained of herein constitute infringement of Plaintiff’s

copyright and exclusive rights under copyright in violation of Sections 106 and 501 of the

Copyright Act, 17 U.S.C. §§ 106 and 501.

          15.     Upon information and belief, the foregoing acts of infringement by Defendant

have been willful, intentional, and purposeful, in disregard of and indifference to Plaintiff’s

rights.

          16.     As a direct and proximate cause of the infringement by the Defendant of

Plaintiff’s copyright and exclusive rights under copyright, Plaintiff is entitled to damages and

Defendant’s profits pursuant to 17 U.S.C. § 504(b) for the infringement.

                      SECOND CLAIM FOR RELIEF
      INTEGRITY OF COPYRIGHT MANAGEMENT INFORMATION AGAINST
                             DEFENDANT
                             (17 U.S.C. § 1202)

          17.     Plaintiff incorporates by reference each and every allegation contained in

Paragraphs 1-16 above.




                Case 5:19-cv-00249-FL Document 1 Filed 06/18/19 Page 3 of 6
       18.     Upon information and belief, intentionally and knowingly removed copyright

management information identifying Plaintiff as the photographer of the Photograph.

       19.     The conduct of Analytical violates 17 U.S.C. § 1202(b).

       20.     Upon information and belief, Analytical’ falsification, removal and/or alteration

of the aforementioned copyright management information was made without the knowledge or

consent of Plaintiff.

       21.     Upon information and belief, the falsification, alteration and/or removal of said

copyright management information was made by Analytical intentionally, knowingly and with

the intent to induce, enable, facilitate, or conceal their infringement of Plaintiff’s copyright in the

Photograph. Analytical also knew, or should have known, that such falsification, alteration

and/or removal of said copyright management information would induce, enable, facilitate, or

conceal their infringement of Plaintiff’s copyright in the Photograph.

       22.     As a result of the wrongful conduct of Analytical as alleged herein, Plaintiff is

entitled to recover from Analytical the damages, that he sustained and will sustain, and any

gains, profits and advantages obtained by Analytical because of their violations of 17 U.S.C. §

1202, including attorney’s fees and costs.

       23.     Alternatively, Plaintiff may elect to recover from Analytical statutory damages

pursuant to 17 U.S.C. § 1203(c) (3) in a sum of at least $2,500 up to $25,000 for each violation

of 17 U.S.C. § 1202.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully requests judgment as follows:

       1.      That Defendant Analytical be adjudged to have infringed upon Plaintiff’s

               copyrights in the Photograph in violation of 17 U.S.C §§ 106 and 501;




             Case 5:19-cv-00249-FL Document 1 Filed 06/18/19 Page 4 of 6
       2.      The Defendant Analytical be adjudged to have falsified, removed and/or altered

               copyright management information in violation of 17 U.S.C. § 1202.

       3.      That Plaintiff be awarded Plaintiff’s actual damages and Defendant’s profits,

               gains or advantages of any kind attributable to Defendant’s infringement of

               Plaintiff’s Photograph;

       4.      That, with regard to the Second Claim for Relief, Plaintiff be awarded either:

               a) Plaintiff’s actual damages and Defendant’s profits, gains or advantages of any

               kind attributable to Defendant’s falsification, removal and/or alteration of

               copyright management information; or b) alternatively, statutory damages of at

               least $2,500 and up to $ 25,000 for each instance of false copyright management

               information and/or removal or alteration of copyright management information

               committed by Defendant pursuant to 17 U.S.C. § 1203(c);

       5.      That Defendant be required to account for all profits, income, receipts, or other

               benefits derived by Defendant as a result of its unlawful conduct;

       6.      That Plaintiff be awarded his costs, expenses and attorneys’ fees pursuant to

               17 U.S.C. § 1203(b);

       7.      That Plaintiff be awarded punitive damages for copyright infringement;

       8.      That Plaintiff be awarded attorney’s fees;

       9.      That Plaintiff be awarded pre-judgment interest; and

       10.     Such other and further relief as the Court may deem just and proper.

                                 DEMAND FOR JURY TRIAL

       Plaintiff hereby demands a trial by jury on all issues so triable in accordance with Federal

Rule of Civil Procedure 38(b).




             Case 5:19-cv-00249-FL Document 1 Filed 06/18/19 Page 5 of 6
Dated: Charlotte, North Carolina
       June 18, 2019
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           Case 5:19-cv-00249-FL Document 1 Filed 06/18/19 Page 6 of 6
